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 7

 8                                      UNITED STATES DISTRICT COURT
 9                                     NORTHERN DISTRICT OF CALIFORNIA
10

11    OMAR BIBI, M.D.,                                Case No. 3:21-cv-04670-EMC
12                       Plaintiffs,                  NOTICE OF MOTION AND PARTIAL
                                                      MOTION TO DISMISS PLAINTIFF’S
13             v.                                     SECOND AMENDED COMPLAINT;
                                                      MEMORANDUM OF POINTS AND
14    VxL Enterprises, LLC; Daniel & Yeager, LLC;     AUTHORITIES IN SUPPORT THEREOF
      Sycamore Provider Contracting, LLC; Team
15    Health, LLC,                                    Date:    March 31, 2022
                                                      Time:    1:30 p.m.
16                       Defendant.                   Ctrm:    5
17
                                                      Complaint Filed:          June 17, 2021
18                                                    FAC Filed:                September 24, 2021
                                                      SAC Filed:                January 18, 2022
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 1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2            PLEASE TAKE NOTICE that on March 31, 2022 at 1:30 p.m. in Courtroom 5 before the

 3   Honorable Edward M. Chen of the United States District Court, Northern District of California, located

 4   at 450 Golden Gate Avenue, San Francisco, CA 94102, Defendants Daniel & Yeager, LLC (“D&Y”)

 5   and Team Health, LLC (“Team Health,” collectively, “Defendants”) will and hereby do move this Court

 6   for an order granting their Partial Motion to Dismiss Plaintiff Omar Bibi, M.D.’s (“Plaintiff”) Second

 7   Amended Complaint (“SAC.”)

 8            Specifically, Defendants request that the Court dismiss Plaintiff’s First Cause of Action with

 9   prejudice as to Defendant Team Health pursuant to the Federal Rule of Civil Procedure § 12(b)(6), on
10   the grounds that Plaintiff fails to allege sufficient facts to state a claim as required by Ashcroft v. Iqbal,

11   556 U.S. 662 (2009) and Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007).

12            Defendants also request that the Court dismiss Plaintiff’s Second Cause of Action with prejudice

13   as to both Defendants pursuant to the Federal Rule of Civil Procedure § 12(b)(6) on the grounds that

14   Plaintiff fails to allege sufficient facts to state a claim as required by Ashcroft v. Iqbal, 556 U.S. 662

15   (2009) and Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007).

16            This Motion is based on this Notice of Motion and Motion, the following Memorandum of

17   Points and Authorities in Support, the pleadings, records and papers filed in this action, the arguments of

18   counsel, and any such further evidence as the Court may consider at, before or following the hearing on

19   this Motion.
20
     DATED: February 22, 2022                                  SEYFARTH SHAW LLP
21

22                                                             By: /s/ Lauren S. Schwartz
                                                                   Jonathan L. Brophy
23                                                                 Lauren S. Schwartz
                                                               Attorneys for Defendants
24                                                             Daniel & Yeager, LLC and Team Health, LLC

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 1    I.       INTRODUCTION

 2             Three strikes and he is out. Despite having yet another opportunity to remedy his defective

 3    pleading, Plaintiff Omar Bibi, M.D.’s Second Amended Complaint (“SAC”), which is his third attempt

 4    to plead a viable complaint, remains defective. Defendants Daniel & Yeager, LLC (“D&Y”) and Team

 5    Health, LLC (“Team Health”) thus move to dismiss Plaintiff’s First Cause of Action for retaliation as to

 6    Team Health and Plaintiff’s Second Cause of Action for a failure to hire as to both Defendants, with

 7    prejudice, on numerous grounds, including several that were already identified in Defendants’ prior

 8    motion to dismiss:

 9             First, Plaintiff’s retaliation claim as to Team Health was already dismissed by this Court for a

10    failure to state a claim and Plaintiff does not allege any new facts to establish that Team Health is a

11    proper defendant to this claim. Thus, this claim cannot stand against Team Health and must be

12    dismissed.

13             Second, Plaintiff’s failure to hire claim fails because Plaintiff did not and could not remedy the

14    defects identified by the Court—namely, he has once again failed to plausibly allege that he engaged in

15    a protected activity that was known to Team Health and that there is a causal connection between such

16    conduct and an adverse action.

17             Third, Plaintiff’s failure to hire claim fails for the additional reason that it offers nothing more

18    than “labels or legal conclusions” and instead offers “naked assertions devoid of further factual

19    enhancement,” which do not state a claim upon which relief may be granted.

20             Fourth, at minimum, Plaintiff’s failure to hire claim as to D&Y fails because D&Y is not a

21    proper defendant to this claim.

22             For these reasons, the Court should grant Defendants’ Partial Motion to Dismiss and enter an

23    order dismissing Plaintiff’s First Cause of Action for retaliation as to Team Health and Plaintiff’s

24    Second Cause of Action for failure to hire as to both Defendants, without leave to amend.

25    II.      THIS COURT PREVIOUSLY DISMISSED ALMOST THE ENTIRETY OF
               PLAINTIFF’S FIRST AMENDED COMPLAINT
26
               On November 8, 2021, Defendants filed a Motion to Dismiss Plaintiff’s First Amended
27
      Complaint (“FAC”) for a failure to state a claim. (See Motion to Dismiss FAC, Dkt. No. 35.) The FAC
28
 ``
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 1   alleged four causes of action against Defendants: discrimination, retaliation, and failure to hire under 42

 2   U.S.C. § 1981 (“Section 1981”), and discrimination and retaliation under the Unruh Act. (See FAC,

 3   Dkt. No. 26.)

 4            On December 20, 2021, this Court entered an Order (the “Order”) dismissing almost the entirety

 5   of Plaintiff’s FAC. (See Order, Dkt. No. 55.) It dismissed Plaintiff’s Unruh cause of action with

 6   prejudice and permitted Plaintiff to proceed on his retaliation claim under Section 1981 as to D&Y

 7   only. (Order, Dkt. No. 55, 13:21-25, 14:1-4.) The Court dismissed the rest of the FAC with leave to

 8   amend, which consisted of a Section 1981 retaliation claim (against Team Health), a Section 1981

 9   failure to hire claim (against both Defendants), and a Section 1981 discrimination claim (against both
10   Defendants).1 (Order, 55, Dkt. 55, 14-1:4.)

11   III.     BACKGROUND OF PLAINTIFF’S ALLEGATIONS
12            A.     In July 2020, Plaintiff Contracted With D&Y As A Locum Tenens Physician
13            Plaintiff contracted with D&Y, a locum tenens company,2 to provide COVID medical services to

14   inmates at the San Quentin Prison (“Prison”) in Marin County, California from July 20, 2020 to August

15   20, 2020. (SAC, Dkt. 58, ¶ 12.) Plaintiff claims that VxL Enterprises, LLC’s (“VxL”)3 Chief Medical

16   Director “criticized” Plaintiff’s job performance4 and made discriminatory comments to him while

17   Plaintiff worked at the Prison. (SAC, Dkt. 58, ¶¶ 15-17.) Plaintiff alleges that he complained about

18   these comments to his contact at D&Y, Nicole Seibert, and was terminated shortly thereafter in July

19   2020. (SAC, Dkt. 58, ¶¶ 18-19.)
20   1
      /    Plaintiff abandoned his Section 1981 discrimination claim and did not pursue it in the SAC. (See
21   SAC, Dkt. 58.)
22   2
      /     “Locum [tenens] companies typically operate like a temporary staffing agency, placing
     physicians [they contract with] to work [at] their [health-care] client’s facilities. (SAC, Dkt. 58, ¶ 11.)
23
     3
24     /      Plaintiff alleges that VxL contracted with the California state prison system to provide COVID
     relief to inmates at the Prison. (SAC, Dkt. 58, ¶ 9.) VxL staffed the hospital with physicians that it
25   acquired from locum tenens companies, including D&Y. (SAC, Dkt. 58, ¶ 11.)
26   4
      /     Plaintiff claims that VxL’s Chief Medical Director criticized Plaintiff for leaving the premises
27   during working hours, being late to work, “skulking,” and of not wearing proper protective gear. (SAC,
     Dkt. 58, ¶ 16.)
28
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 1            B.     In August 2020, Plaintiff Filed An EEOC Charge Against D&Y And Later Initiated
                     This Lawsuit Against Both Defendants Based On His Termination At The Prison
 2
              In August 2020, one month after Plaintiff was terminated by D&Y, Plaintiff filed a
 3
     discrimination charge against D&Y with the Equal Employment Opportunity Commission (“EEOC.”)
 4
     (SAC, Dkt. 58, ¶ 24.) The charge was not filed against Team Health. (See SAC, Dkt. 58.) Sometime
 5
     while Plaintiff’s EEOC charge was pending, Plaintiff alleges that he engaged in confidential settlement
 6
     negotiations with D&Y.5 (SAC, Dkt. 58, ¶ 27.) He claims that D&Y requested that a resolution include
 7
     a no-rehire provision and, as is standard practice for settlement agreements involving corporate entities,
 8
     that the release extend to the defendant corporation’s parents, affiliates or subsidiaries. (See SAC, Dkt.
 9
     58, ¶ 27.)
10
              In June 2021, Plaintiff filed the original complaint in the instant action against both Defendants.
11
     (See Complaint, Dkt. 1.) The original complaint alleged discrimination and retaliation under Title VII of
12
     the Civil Rights Act and the California Fair Employment Housing Act (FEHA) based solely on
13
     Plaintiff’s termination at the Prison.6 (See Complaint, Dkt. 1.)
14
              C.     From May 2021 To The Present, Plaintiff Applied To Other Positions With Team
15                   Health

16            From May 2021 to the present, Plaintiff alleges that he applied to thirty-six separate jobs with

17   Team Health, which spanned across two states, eight cities, and ten hospitals.7 (SAC, Dkt. 58, Exh. 1.)

18   He allegedly applied to fourteen of these positions within a day of filing iterations of the complaint.8

19   (See SAC, Dtk. 58, Exh. 1.)

20            Notwithstanding the fact that some of these applications have only been pending for one month,

21   Plaintiff alleges that Team Health’s failure to hire him for all 36 positions constituted an unlawful

22   5
      /       Plaintiff does not state when these settlement communications occurred. (See SAC, Dkt. 58, ¶
     27.)
23
     6
24       /    Plaintiff added a failure to hire claim in the FAC. (See FAC, Dkt. 26.)

25   7
       /    Plaintiff alleges that several jobs were for traveling hospital positions, which would have
     required him to work in multiple locations across different cities. (SAC, Dkt. 58, Exh. 1.)
26
     8
27    /      Plaintiff allegedly applied to three positions on the day he filed the Complaint, seven positions
     on the day before he filed the FAC, and four positions on the day he filed the SAC. (See SAC, Dkt. 58,
28   Exh. 1.)
                                                           3
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 1   practice because Team Health acted based on any or all of the following three improper reasons: (1) as

 2   retaliation for complaining to D&Y in July 2020 about VxL’s Chief Medical Director’s discriminatory

 3   comments made at the Prison; (2) as retaliation for filing an EEOC charge against D&Y or rejecting its

 4   settlement proposal, which included a no-rehire provision, in or around August 2020, or (3) as retaliation

 5   for filing the instant action in June 2021. (SAC, Dkt. 58, ¶ ¶ 31, 47.)

 6            Finally, Plaintiff claims that someone named Dr. Michael Hall, who worked as a Medical

 7   Director for some company,9 told Plaintiff that “Team Health handles the screening and vetting of

 8   applicants” in connection with Plaintiff’s June 16, 2021 application to work at the Walker Baptist

 9   Medical Center in Jasper, Alabama. (SAC, Dkt. 58, ¶¶ 32, 33.) Plaintiff also alleges that Dr. Hall said
10   that a Team Health recruiter told Dr. Hall that Plaintiff “worked with them in the past.” (SAC, Dkt. 58,¶

11   34.)

12   IV.      PLAINTIFF’S SAC IS SUBJECT TO A MOTION TO DISMISS UNDER RULE 12(B)(6)
              FOR FAILURE TO STATE A CLAIM
13
               To state a claim, a complaint must contain a “short and plain statement of the claim showing the
14
     pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Dismissal under Rule 12(b)(6) is proper in the
15
     absence of sufficient facts alleged under a cognizable legal theory. Zamani v. Carnes, 491 F. 3d 990,
16
     996 732 (9th Cir. 2007).
17
              The Supreme Court has definitively ruled that stating a claim demands more than a mere “the-
18
     defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Indeed,
19
     pleadings offering labels, legal conclusions, or naked assertions devoid of further factual enhancement
20
     do not state a claim upon which relief may be granted. Id.; Bell Atlantic Corp v. Twombly, 550 U.S.
21
     544, 555 (2007) (“a Plaintiffs’ obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires
22
     more than labels and conclusions and a formulaic recitation of the elements of a cause of action will not
23
     do.”) (citation omitted).
24
              To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain sufficient factual
25
     matter, accepted as true, to state a claim to relief that is plausible on its face. Iqbal, 556 U.S. at 678.
26

27
     9
28       /    Plaintiff does not allege who employs or employed Dr. Hall.
                                                         4
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 1            In determining a motion to dismiss, the court need not accept as true “allegations that are merely

 2   conclusory, unwarranted deductions of fact, or unreasonable inferences.” In re Gilead Scis. Secs. Litig.,

 3   536 F.3d 1049, 1055 (9th Cir. 2008) (citation omitted).

 4            Claims only have plausibility sufficient to survive a motion to dismiss when they contain

 5   sufficient factual content for the Court to draw the reasonable inference that a defendant is liable for the

 6   misconduct alleged. Iqbal, 556 U.S. at 678.

 7   V.       PLAINTIFF’S FIRST CAUSE OF ACTION FOR RETALIATION MUST BE
              DISMISSED AS TO TEAM HEALTH
 8
              Plaintiff’s retaliation claim against Team Health must be dismissed because, as the Court
 9
     implicitly recognized, Team Health is not the proper defendant.
10
              “To establish a prima facie case of retaliation under Section 1981, a plaintiff must prove (1) he
11
     engaged in a protected activity; (2) he suffered an adverse employment action; and (3) there was a
12
     causal connection between the two.” Surrell v. Cal. Water Serv, 518 F.3d 1097, 1108 (9th Cir. 2008)
13
     (indicating that a claim for retaliation, whether under Title VII or Section 1981, has the above elements.)
14
              “In order to prevail on [a claim for retaliation], plaintiff would additionally have to show facts
15
     allowing an inference that defendant was aware plaintiff engaged in protected activity.” Tapia v. Boeing
16
     Co., 2021 WL 949622, at *6 (E.D. Cal. Mar. 12, 2021) (citations omitted.)
17
              Here, Plaintiff’s claim is based on the theory that D&Y terminated his employment at the Prison
18
     in retaliation for his complaining about VxL’s Chief Medical Director’s discriminatory comments.
19
     (SAC, Dkt. 58, ¶ 44.)
20
              In its Order, the Court held that Plaintiff stated a plausible claim against D&Y because Plaintiff
21
     alleged that he complained to D&Y and then was terminated by D&Y on the same day or soon
22
     thereafter. (Order, Dkt. 55, 8:2-23, 13:22-25). Recognizing that Team Health is in a different position
23
     than D&Y, the Court denied the claim as to Team Health, and explained the issue in the context of
24
     Plaintiff’s failure to hire claim:
25
              [I]t is not clear that Team Health knew about the complaint of race discrimination. The
26            complaint was made to D&Y, not Team Health. Although Dr. Bibi has alleged that
27            D&Y and Team Health are affiliated companies, that fact in and of itself makes Team
              Health’s knowledge of the complaint only possible, not plausible.
28
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 1   (Order, Dkt. 55, 9:10-14; emphasis added.) Despite explaining to Plaintiff what would be required to

 2   plead the requisite “plausible” factual allegations to support this claim and properly amend his

 3   complaint, Plaintiff did not and could not add additional facts to state a claim against Team Health.

 4            Plaintiff made no additional allegations that plausibly establish that Team Health is a proper

 5   defendant to this claim. He, again, fails to specify any facts that show that Team Health knew about

 6   Plaintiff’s complaint made to D&Y. As the Court cautioned: “In the absence of a plausible allegation of

 7   knowledge on the part of Team Health, Dr. Bibi has not adequately alleged a causal connection between

 8   the protected activity and the adverse employment action.” (Order, Dkt. 55, 9:14-16.)

 9            This claim also fails for the additional reason that Plaintiff has failed to allege that Team Health
10   had any influence over the adverse action, i.e., D&Y’s decision to terminate. Accordingly, Plaintiff’s

11   retaliation claim must be dismissed as to Team Health.

12   VI.      PLAINTIFF’S SECOND CAUSE OF ACTION FOR FAILURE TO HIRE MUST BE
              DISMISSED AS TO BOTH DEFENDANTS
13
              A.     Plaintiff Cannot Establish That Team Health Knew About Any Protected Conduct
14                   Or Establish A Causal Connection Between Such Conduct And An Adverse Action
15            Plaintiff’s failure to hire claim must be dismissed because Plaintiff cannot establish that Team

16   Health knew about any protected conduct and because he cannot establish a causal connection between

17   such conduct and an adverse action.

18            The SAC merely cites the same implausible theories that have already been rejected by the Court

19   and fails to allege any additional facts that change the inevitable—that this claim does not pass muster.
20                   1.      The Court Already Determined That Racial Discrimination Cannot Serve As
                             The Basis For His Failure To Hire Claim
21
              The Court already dismissed Plaintiff’s first theory that Team Health did not hire him because of
22
     his race: “There is nothing to indicate that … there was anyone at Team Health who had a racial animus
23
     or that similarly or less qualified individuals were hired instead of Dr. Bibi. Nor is there any alleged
24
     evidence of racial animus influencing Team Health’s hiring decisions.” (Order, Dkt. 55, 9:1-6.)
25
     Plaintiff does not add any facts to remedy any of these defects. Therefore, this theory cannot serve
26
     as the protected conduct for purposes of Plaintiff’s failure to hire claim.
27

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 1                   2.      The Court Already Determined That Plaintiff’s Complaint About
                             Discriminatory Comments Cannot Serve As The Basis For His Failure To
 2                           Hire Claim

 3            Similarly, the Court already ruled that Plaintiff’s complaint made to D&Y about VxL’s Chief

 4   Medical Director’s discriminatory comments cannot serve as the protected activity for his failure to hire

 5   claim because (1) Plaintiff failed to establish that Team Health knew about the complaint and (2) the

 6   timing does not support a causal connection given that the complaint occurred in July 2020 and the

 7   adverse action (i.e. an alleged failure to hire) did not occur until May 2021. (Order, Dkt. 55, 9:7-19.) In

 8   response to the Court’s Order, Plaintiff added a few allegations purportedly related to the knowledge of

 9   Team Health. None fix the problem.

10            Plaintiff added an allegation that Dr. Hall, a Medical Director working for some unknown

11   company, told Plaintiff that “Team Health handles the screening and vetting of applicants” in connection

12   with his June 16, 2021 application to work at the Walker Baptist Medical Center in Jasper, Alabama,

13   and that a Team Health recruiter told Dr. Hall that Plaintiff “worked with them in the past.” (SAC, Dkt.

14   58, ¶¶ 32-34.) These are both red herrings.

15            First, there is no indication that Dr. Hall’s statements relate to any of Plaintiff’s other

16   applications for employment, which concern jobs to be filled across different states, different cities,

17   different facilities and are for different roles. (See SAC, Dkt. 58, Exh. 1.) Although Plaintiff has

18   alleged that Dr. Hall made this comment regarding one of his applications, Plaintiff’s failure to hire

19   claim is based on 35 other applications. (See SAC, Dkt. 58, Exh. 1.) His allegation regarding Dr. Hall’s

20   statements about the job at the Walker Baptist Medical Center in and of itself only makes its broader

21   application possible at best, not plausible.

22            Second, Dr. Hall’s statements are not sufficient to plausibly establish that Team Health would

23   know about Plaintiff’s informal complaint about alleged discriminatory comments made by VxL’s Chief

24   Medical Director that occurred a year prior.

25            In any event, Plaintiff still cannot state a claim based on this theory because he does not, and

26   cannot, allege any new facts to remedy the time lag noted by the Court:

27            [T]he timing also does not support a causal connection between the protected activity and
              the adverse employment action. Dr. Bibi made the complaint about race discrimination
28
                                                            7
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 1            to D&Y in July 2020. He did not apply for a Team Health job until almost a year later, in
              May 2021.
 2
     (Order, Dkt. 55, 9:16-19.) For these reasons, this theory cannot serve as a basis for Plaintiff’s failure to
 3
     hire claim.
 4
                     3.      The Court Already Determined That Plaintiff’s Filing Of An EEOC Charge
 5                           Cannot Serve As The Basis For His Failure To Hire Claim
 6            The Court also considered Plaintiff’s third theory that Team Health did not hire him because he
 7   filed an EEOC charge against D&Y, one of its subsidiaries, in August 2020. The Court rejected this
 8   theory because (1) Plaintiff failed to plausibly allege that Team Health knew about the EEOC charge
 9   and (2) Plaintiff could not overcome the time lapse:
10            To the extent Dr. Bibi relies on the EEOC discrimination charge, there are still the
              problems of (1) no evidence of knowledge of the charge on the part of Team Health
11            (presumably, the charge would have been made against D&Y only) and (2) timing lag.
12   (Order, Dkt. 55, 9:24-27.) Plaintiff has not remedied either issue.
13            Plaintiff cannot plausibly claim that Team Health had knowledge of Plaintiff’s EEOC charge—
14   the SAC does not allege that Team Health was a defendant to the EEOC charge, was otherwise
15   referenced in the charging allegations, or had any involvement or role in the proceeding. The allegation
16   that D&Y requested a no-rehire provision or that it conditioned any settlement on being binding as to its
17   parents, affiliates or subsidiaries not change this result. Plaintiff does not allege that Team Health made
18   the request and it is common practice for corporate entities to require that any release extend to cover its
19   corporate organization. Such request does not plausibly impart knowledge on Team Health.
20            To the extent Plaintiff relies on Dr. Hall’s comments to establish knowledge, such argument also
21   fails. Nothing in Dr. Halls’ statements plausibly establish that Team Health would know about an
22   EEOC charge filed against D&Y, or that Dr. Halls’ statements can be imputed to Team Health.
23            And, in any event, Plaintiff still cannot state a claim based on this theory because he does not and
24   cannot allege any new facts to remedy the issue of the time lag identified by the Court—namely, that the
25   EEOC charge was filed in August 2020 and the alleged failure to hire did not occur until May 2021.
26   (Order, Dkt. 55, 9:24-27.) For these reasons, this theory cannot serve as a basis for Plaintiff’s failure to
27   hire claim.
28
                                                          8
                   NOTICE OF MOTION AND PARTIAL MOTION TO DISMISS FAC; MPA ISO THEREOF
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 1                    4.       The Court Already Determined That Plaintiff’s Filing Of The Instant
                               Complaint Cannot Serve As The Basis For His Failure To Hire Claim
 2
              The Court also examined—and rejected—Plaintiff’s fourth theory that Team Health did not hire
 3
     him because he filed the instant action on June 17, 2021. As the Court explained, Plaintiff, once again,
 4
     faces a knowledge problem:
 5
              The problem for Dr. Bibi is that, to support a claim for retaliation, he would need to show
 6            that the relevant hiring decisionmaker at Team Health knew or at least could have known
              about the lawsuit. But based on the allegations in the operative complaint, a reasonable
 7
              inference cannot be made that litigation information would be passed on to hiring
 8            decisionmakers.

 9   (Order, Dkt. 55, 10:6-10.) Nothing in the SAC leads to any conclusion—let alone a plausible

10   conclusion—that individuals who were making the hiring decisions for positions in Alabama and

11   Louisiana were aware that Plaintiff filed a lawsuit about conduct that allegedly happened in Northern

12   California.

13            Additionally, and at minimum, considering that Plaintiff filed the original complaint on June 17,

14   2021, such a protected activity could not be the source of a failure to hire for the eleven positions he

15   applied to before the date of his original complaint. (See SAC, Dkt. 58, Exh. 1.)

16            B.      Plaintiff’s Failure To Hire Claim Must Be Dismissed For The Additional Reason
                      That It Fails To Set Forth Sufficient Facts To State A Claim
17
              Plaintiff’s failure to hire claim fails for the additional reason that it fails to set forth sufficient
18
     facts to state a claim.
19
              In order to state a prima facie claim under Section 1981 for a failure to hire, a plaintiff must
20
     show that he “applied and was qualified for a job for which the employer was seeking applicants,” that
21
     “despite [his] qualifications, [he] was rejected,” and that “after [his] rejection, the position remained
22
     open and the employer continued to seek applicants from persons of complainant’s qualifications.”
23
     Rowell v. Sony Pictures Television, Inc., 2016 WL 10644537, at *5 (C.D. Cal. June 24, 2016), aff'd, 743
24
     F. App'x. 852 (9th Cir. 2018) (citations omitted.)
25
              Here, Plaintiff has merely stated bare conclusory allegations that he “formally applied and
26
     otherwise expressed his interest in numerous available positions for which he was qualified [but] was
27
     not interviewed or otherwise considered.” (SAC, Dkt. 58, ¶ 46.)
28
                                                             9
                   NOTICE OF MOTION AND PARTIAL MOTION TO DISMISS FAC; MPA ISO THEREOF
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 1            These bare assertions are mere “formulaic recitation of the elements” that “disentitles them from

 2   the truth.” Ashcroft, 556 U.S. at 681 (citations and quotations omitted.)

 3            Plaintiff’s Exhibit 1 to the SAC entitled “Team Health Jobs” does not resolve the issue.

 4   Exhibit 1 is a chart merely identifies a “location,” “facility,”10 “date”11 and “Job ID”12 of thirty-six jobs.

 5   (SAC, Dkt. 58, Exh. 1.) It does not allege any facts supporting Plaintiff’s allegation that Defendants

 6   unlawfully blacklisted him and failed to hire him for retaliatory reasons.

 7            Indeed, the SAC alleges no facts to show:

 8                  whether and when Plaintiff applied for each job;
 9
                    whether each job was open at the time Plaintiff allegedly applied;
10
                    what each job required and whether Plaintiff was qualified;
11
                    whether, after he was rejected for each job, each job remained open; and,
12
                    whether, after he was rejected for each job, Team Health continued to seek applicants
13                   from persons of Plaintiff’s qualifications.
14            This claim only tenders “naked assertion[s] devoid of further factual enhancement,” which are
15   insufficient to survive a motion to dismiss. Ashcroft, 556 U.S. at 678. (internal citations and quotations
16   omitted). Plaintiff fails to make his prima facie case. The claim must be dismissed.
17            C.     At Minimum, Plaintiff’s Failure To Hire Claim Must be Dismissed As To D&Y
18            In its prior Order, the Court unequivocally stated that D&Y is not a proper defendant to
19   Plaintiff’s failure to hire claim:
20            For the failure to hire claim, the correct defendant would appear to be Team Health,
              rather than D&Y – i.e. based on the FAC, it appears that Dr. Bibi applied for Team
21            Health jobs, and not another job with D&Y.
22

23   10
       /   Plaintiff does not identify the “facility” for all of the thirty-six jobs identified in Exhibit 1 to the
24   SAC. (See SAC, Dkt. 58, Ex. 1.)

25   11
       /     Plaintiff’s reference to the “date” of these jobs is ambiguous. (See SAC, Dkt. 58, Ex. 1.) For
     example, “date” could mean the date the position was posted or the date Plaintiff allegedly applied to the
26   position.
27   12
       /   Plaintiff does not identify the “Job ID” for all of the thirty-six jobs identified in Exhibit 1 to the
28   SAC. (See SAC, Ex. 1.)
                                                        10
                   NOTICE OF MOTION AND PARTIAL MOTION TO DISMISS FAC; MPA ISO THEREOF
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 1   (Order, Dkt. 55, 8:25-27). The SAC does not allege that Plaintiff applied for any D&Y jobs after

 2   working at the Prison13 or any other facts that would suggest that D&Y was the proper defendant. Thus,

 3   at minimum, the Court should dismiss D&Y as a defendant to this claim for failure to hire.

 4   VII.     PLAINTIFF SHOULD NOT BE PERMITTED LEAVE TO AMEND BECAUSE THE
              DEFICIENCIES IN THE SAC CANNOT BE CURED
 5
              If repleading cannot cure the deficiencies, the court may dismiss without leave to amend. Harris
 6
     v. Cty. of Orange, 682 F.3d 1126, 1135 (9th Cir. 2012) (“Dismissal without leave to amend is
 7
     appropriate only when the Court is satisfied that an amendment could not cure the deficiency”). The
 8
     deficiencies outlined above cannot be cured. Plaintiff has tried, and failed, to state a claim three
 9
     times. He has been on notice of what he needed to do to cure his prior deficiencies, and could not meet
10
     the required pleading standards. He should not be given a fourth opportunity.
11
     VIII. CONCLUSION
12
              For the foregoing reasons, Defendants respectfully request that this Court grant its Partial Motion
13
     to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6) and enter an order dismissing the First Cause of Action
14
     against Team Health and the Second Cause of Action against both Defendants without leave to amend.
15

16   DATED: February 22, 2022                               SEYFARTH SHAW LLP
17
                                                            By: /s/ Lauren S. Schwartz
18                                                              Jonathan L. Brophy
                                                                Lauren S. Schwartz
19                                                          Attorneys for Defendants
                                                            Daniel & Yeager, LLC and Team Health, LLC
20

21

22

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24

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27   13
       /    That Plaintiff does not base his failure to hire claim on D&Y jobs cannot plausibly be
28   challenged. Indeed, Plaintiff titled Exhibit 1, “Team Health Jobs.”
                                                         11
                   NOTICE OF MOTION AND PARTIAL MOTION TO DISMISS FAC; MPA ISO THEREOF
                                       (CASE NO. 3:21-CV-04670-EMC)
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